Case 1:19-cv-03266-RM-STV Document 44 Filed 03/26/20 USDC Colorado Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Case No. 1:19-cv-03266-RM-STV

 MARSH USA INC., a Delaware corporation,

         Plaintiff,

 v.

 COBBS ALLEN CAPITAL, LLC, a Delaware limited liability company,

         Defendant.


         STIPULATION FOR EXTENSION OF TIME TO ANSWER FIRST SET OF
                            INTERROGATORIES


         Plaintiff Marsh USA Inc. (“Marsh”) and Defendant Cobbs Allen Capital, LLC (“Cobbs

 Allen”) hereby stipulate to a 14-day extension of time for Marsh to respond to Cobbs Allen’s

 first set of interrogatories in accordance with D.C.COLO.LCivR 6.1(a), and state as follows:

         1.      Cobbs Allen served Marsh with a first set of interrogatories on February 25, 2020.

 Marsh is therefore required to serve answers by March 26, 2020. Fed. R. Civ. P. 6, 33.

         2.      Marsh and Cobbs Allen stipulate to a 14-day extension for Marsh to answer the

 interrogatories, up to and including April 9, 2020.

         3.      As required by D.C.COLO.LCivR 6.1(c), undersigned counsel will serve a copy

 of this stipulation on their clients.

         Respectfully submitted this 26th day of March, 2020.

                                               s/ Thomas W. Carroll_______________
                                               Darren E. Nadel
                                               Thomas W. Carroll
                                               Tommy Postek
Case 1:19-cv-03266-RM-STV Document 44 Filed 03/26/20 USDC Colorado Page 2 of 3




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                                       2
Case 1:19-cv-03266-RM-STV Document 44 Filed 03/26/20 USDC Colorado Page 3 of 3




                                    CERTIFICATE OF SERVICE

           I hereby certify that on this 26th day of March, 2020, a true and correct copy of the

 foregoing STIPULATION FOR EXTENSION OF TIME TO ANSWER FIRST SET OF

 INTERROGATORIES was filed and served via CM/ECF, which will send notice to the

 following:

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                                                        s/ Thomas W. Carroll
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